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      PSJ6 NPS Opp Exh 2
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     SUMMIT CtIJN1IY
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                                                                         SUMMIT_000830451
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    SHERIFF'S MiSSiON
                STATEMENT
  THE MISSION OF THE SUMMIT COUNTY
  SHERIFF'S OFFICE 15 TO PROVIDE THE
  SAFEST ENVIRONMENT POSSIBLE FOR ALL
  CITIZENS WITHIN SUMMIT COUNTY, OHIO.
  WE WILL ACCOMPLISH THIS MISSION
  THROUGH CONTINUAL TRAINING,
  MAINTAINING A PROACTIVE APPROACH TO
  DETER THE CRIMINAL ELEMENT, AS WELL
  AS UTILIZING ALL AVAILABLE RESOURCES
  FOR SAFE, EXPEDIENT, AND ACCURATE
  RESPONSES TO ALL INCIDENTS, ALL THE
  WHILE CONTINUING TO BUILD AND
  PRESERVE OUR COMMUNITY PARTNERSHIPS
  THROUGH A TRUE POSITIVE INTERACTION
  WITH THE PUBLIC.
  DURING THIS MISSION COURSE, WE WILL
  CONTINUE OUR PRESENT APPLICATION OF
  THE SIX PILLARS OF CHARACTER:
  TRUSTWORTHINESS, RESPECT, CARING,
  RESPONSIBILITY, FAIRNESS, AND
  CITIZENSHIP. THROUGH THESE
  ACHIEVEMENTS OUR AGENCY WILL
  DEMONSTRATE A SINCERE DEDICATION TO
  THIS VISION          -


  "OUR COUNTY, OUR COMMITMENT, "

                                                                  -StEYE BABQi
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                                                                         SUMMIT_000830453
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  To the residents of Summit County, Ohio;


  The Summit County Sheriff's Office has enjoyed a long-standing proud tradition of service to our
  community members, and we continued this practice in 2017. Although still faced with the
  challenges of insufficient funding for a county agency the size of ours (still approximately 3 million
  dollars under our last full budget in 2008) persistent low staffing at the Summit County Jail, and
  not being able to purchase needed items such as body cameras for our deputies, we continue to do
  everything in our power to keep the people in our county safe.


  I cannot thank our employees enough for the professionalism they continually display on a very
  consistent basis, and the enthusiasm they still bring to their work product daily. We incessantly
  strive to work with our County Executive's office, Summit County Council, and other government,
  business and organizational leaders on behalf of our communities.


  2017 brought some very unique situations for our various divisions. We were fortunate enough to
  afford to purchase a Body Scanner for the Summit CountyJail. This was necessary to further
  insure weapons and contraband were not being brought into the jail, and it went into operation
  during the month of October. Within just a few short weeks of use, this extraordinary machine
  proved to be an invaluable safety resource for us as several items were able to be located, while still
  being internally concealed by different inmates, who had been brought to our jail. The deputies
  who were trained in using this scanner have done an excellent job in their recognition of
  contraband and the seizing of same.


  Our Operations Division continues to do their best in combating the opioid crisis all counties in
  Ohio have been experiencing. I would like to commend our Patrol and Detective Bureaus, along
  with our Drug Unit for their proactive approaches in dealing with these illicit activities, as well as
  their investigative skills. We have joined forces with mental health professionals and Fire Medics
  from the different fife departments we work with to form our Quick Response Teams. These are
  the professionals who complete follow up visits with people who have survived an overdose
  situation and we provide them with resources to assist in their recovery.


  I am truly proud of all of the employees of the Summit County Sheriff's Office (both civilian and
  sworn personnel) and the dedication they bring to the job each day. On behalf of all of them as
  well as myself, I respectfully submit this 2017 Annual Report for our citizens' review.




  Steve Barry
  Sheriff, County of Summit




                                                                                                    SUMMIT_000830454
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                 SHERIFF STEVE BARRY




            Sheriff Steve Barry proudly assumed the duties of Summit County Sheriff on January
            7th, 2013 after being elected to the office in November 2012. Sheriff Barry is a
            lifelong Summit County resident and graduate of the Akron Public Schools
            System. He attended the University of Akron, majoring in Criminal Justice Technology.
            Sheriff Barry began his career with the Summit County Sheriff's Office in
             1979 as a Special Deputy (reserve) after graduating from the Sheriff's Basic Law
            Enforcement Academy. He then graduated from the Ohio Peace Officers Training
            Academy Course in 1982, and became a full-time Summit County Deputy Sheriff in
            October of the same year. His entire law enforcement career has been with the Summit
            County Sheriff's Office spanning over thirty years.
            Sheriff Barry was fortunate to work in almost every division within the Sheriff's Office
            during his career, including Corrections, Court Security and Convey, Patrol Division,
            Detective Bureau, Special Operations/Internal Affairs, along with undercover
            assignments during his early years. He also served as a Hostage Negotiator and
            Commander of the Crisis Negotiation Team as well as Director of an Ohio Organized
            Crime Investigations Commission Task Force, while on assignment with the Office of the
            Ohio Attorney General. The sheriff rose through the ranks during his career, attaining
            the rank of Sheriff's Captain.                                                                                                             .
            Sheriff Barry has completed over 1,500 hours of various training and coursework in law
            enforcement and has received several Awards, Citations, Letters and Certificates of
            Appreciation and Commendations for his work in law enforcement.
            On January   1, 2017 Steve Barry began his second term as Summit County Sheriff after
            being re- elected in November 2016. Needless to say, he is very proud, yet humbled to
            be the Sheriff of Summit County, appreciates the work and services sheriff's deputies and
            employees perform every day, and looks forward to continuing to serve the citizens of
            Summit County for many years.

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                                                                      liwwns95touooó
                                                                                                             SHERIFF

                        SPECIAL OPERATIONS -                         ADMINISTRATIVE SUPPORT -                                 DIRECTOR OF ADMINISTRATION             DIRECTOR OF PUBLIC RELATIONS
                             DAVE HILLS                                   DENISE CARTER                                            LEGAL - MIKE CODY                       PAUL MATULAVICH

                                                                                                                                                                                                          TABLE OF ORGANIZATION
                          ADMINISTRATIVE                                                                MAJOR WHITFIELD                                                                                       CORRECTIONS                            i
                            ASSISTANT
                                                                 ADMINISTRATIVE LIEUTENANT
                                                                     AARON PIEKARSKI


                                                        l                                                                                                 1


         SPECIALTY                                                                  COIÍANiUNIGAT1üN
                                                 TRAINING                                                                                              FISCAL
           UNITS                                                                             DISPATCH

BOMB SQUAD                                 TRAINING COMMANDER                       DIRECTOR OF ADMINISTRATION -                                         CAPT.                                            ASST. DIRECTOR OF
                                            CAPT. RICH PAOLUCCI                           COMMUNICATIONS                                            KANDY FATHEREE                                   ADMINISTRATION - PERSONNEL
                                                                                                                                                                .
 HOSTAGE                                                                                                                                                                                                   DONNA GEORGE
NEGOTIATORS
                                                                   CLERICAL             ASST. DIRECTOR OF
                                                                 SUPERVISOR (1)         ADMINISTRATION (1)                                                                                                                           ADMINISTRATIVE
    SWAT                                                                                                                                                      BUDGET MANAGEMENT                                                       ASSISTANT (1)
                                                                                                                              ri
                                                                                                                                   FISCAL CLERKS (4)
                                                                                                                                                                 DIRECTOR (1)
 TRAFFIC CRASH
                                                  DEPUTIES (3)
     TEAM                                                                                    TECHNICIANS                                                                                                                             SECRETARY (1)
                                                                                            FULL-TIME (15)
                                                                                             PART TIME (4)
MOUNTED PATROL


HONOR GUARD                                                                                                                                                                                                                      -


                                                                                                                          INVESTIGATIONS                                                                  Cï,)URT.SEàiIICES
                    r
  K -9   UNIT


  CRIME SCENE                              PATROL COMMANDER                                                                          INSPECTOR                                                           COURT SERVICES COMMANDER
 INVESTIGATIONS                             LT. MIKE SANCHEZ                                                                       CHRIS RHOADES                                                           CAPT. FRANK KALAPODIS
                                                                                                   INTERNAL AFFAIRS
                                                                                                    LIEUTENANTS (1)
                 FLEET MANAGER                                                                        SERGEANT (1)
                  SERGEANT (1)
                                                                                                                                                                                                                                             '
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                                                                                                                                                                                                                                                              _. ....
                      FLEET                                                                             DRUG UNIT                              DETECTIVE BUREAU
                  TECHNICIAN (1)
                                                                                                                                                                                                                   SUPERVISOR                      SUPERVISORS
                                                                                                                                                                                                           LT. DOUG SCHWALBACH                    SERGEANTS (2)
                                                                                                      SUPERVISOR                              DETECTIVE BUREAU
                                                                                                   CAPT. MATT PAOLINO                          LT. SCOTT COTTLE
                                                                                                                                                                                                CIVIL CLERKS (8)         oworr
                                                                                                                                                                                                                                            SECURITY/TRANSPORT
:POÌ1ÌikUO?f PÓLÏ6ÌtJG                    TôWiiiamP9ùNb'f                                                       SECRETARY (1)                  SECRETARY                                                                                       DEPUTIES (47)

     SUPERVISOR                                  CIVILIAN                  SUPERVISORS
                                                                                                                                                                                                 DEPUTIES (3)
     SERGEANT (1)                           (1   PART TIME)                SERGEANTS (9)
                                                                                                                                   GENERAL ASSIGNMENT
                                                                                                                                      DETECTIVES (4)
                                                                                                        DRUG UNIT             I
                                                                                                       SERGEANT (I)                                                                                 CSEA
                                                                                                                                                                                                 DEPUTIES (5)
                                                                            DEPUTIES (54)                                              WELFARE FRAUD
          SCHOOL RESOURCE DEPUTY (1)                                                                                                    DETECTIVES (1)
                                                                                                                                                                      PROPERTY ROOM
                                                                                                      DETECTIVES (4)                                                    DEPUTY (1)
                                                                                                                                         MRDD BOARD
                 JUVENILE DIVERSION                                                                                                     DETECTIVES (2)
                DEPUTIES (3 PART -TIME)                                                                                                                               FORENSIC COMPUTER
                                                                                                                                                                                                                                                                        Case: 1:17-md-02804-DAP Doc #: 2425-2 Filed: 08/15/19 8 of 37. PageID #: 402752




                                                                                                                                                                       TECHNICIAN (1 PT)
                                                                                                                          ADULT PROTECTIVE SERVICES
            MARINE PATROL DEPUTIES                                                                                                 DETECTIVES (2)
                  (8 PART TIME)                                                                                       I
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  SUNINIIT COUNTY SHERIFF'S OFFICE
                                                                                                     2017
OPERATIONS                                                                                         ANNUAL
                                                                                                   REPORT

      SUPPORT SERUICES RDr1IfISTRRTOR                           Due to her vast knowledge and experience, Ms. Moore
                                                                was chosen as the Office Representative which informs
                        Ms. Denise Carter has been with         and involves the Sheriffs Office of various projects and
                        the Summit County Sheriff's Office      activities within the County.
                        for over thirty years. She began her
                        career with the Sheriffs Office as a
                        Secretary for the Summit County
                        Jail Inmate Services program.
                        Within months of being hired, Ms.        DIRECTOR OF PUBLIC RELATIOMS fr I1EDIR
                        Carter was chosen to become the
                                                                                        Mr. Paul Matulavich was hired in
                        Secretary in the Sheriff's Patrol
                                                                                        1999 under Sheriff Warren, and
Bureau, where she rose through the ranks of secretarial
                                                                                        has  worked for the Summit
classifications, and continued working in the Operations
                                                                                       County Sheriffs office for 18
Division, becoming the most senior secretary in the
                                                                                       years. Prior to this, Paul spent
agency. She has received several accolades during her
                                                                                       22 years in management with
career including receiving the Summit County "Highpoint
                                                                                       the F.W. Albrecht Company.
Award" recognizing civilian county employees who have
                                                                                       In 2005, Paul      received the
excelled in their duties. Due to her vast knowledge and
                                                                Summit County Highpoint Award from then Sheriff Drew
experience, in January of 2013, Ms. Carter was chosen to
                                                                Alexander in recognition of his outstanding dedication
become the Support Services Administrator for newly
                                                                and exemplary attendance.
elected Sheriff Steve Barry.
                                                                 In 2015, Mr. Matulavich was asked to devote his creative
                                                                imagination, visual media skills, and published writing
                                                                experience to developing new and original promotional
           RDrI1nISTRflTIUE RSSISTRnT
                                                                strategies for the Sheriff's Office.
                        Ms. Pam Moore was hired to be a         Among his responsibilities is the writing and photography
                       clerk in the Sheriff's Civil Division    for the agency's newsletter - the SHIELD (which is now
                       almost twenty years ago by then          being read around the world) and designing specialty
                       Sheriff David W. Troutman. During        publications like Above and Beyond, Bound by Honor,
                       this same time period, it was            Among the Very Valiant, as well the agency's annual
                       determined      an    Administrative     reports. Mr. Matulavich also manages and creates multi-
                       Assistant was needed in the              media content for the Sheriff's Office Facebook page, as
                       Sheriff's Administrative Offices to      well as videography for the Sheriff's YouTube Channel.
                       assist the      Support Services
Administrator   with the  ever  increasing  workload. Pam
was chosen   for this position  and became   Administrative
Assistant.     She is responsible for filing various
administrative records, OPOTA certification records, and
assists Sheriff's Command personnel as needed. Ms.
Moore has now worked for four different Sheriffs' in her
administrative role and has been recognized for her job
performance on numerous occasions, including being a
Summit County High Point Award recipient.



                                                               OUR COUNTY - OUR COMMITMENT                         el
                                                                                                           SUMMIT_000830458
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OPERATIONS                                                                                         ANNUAL
                                                                                                       REPORT

     flSS1STflnT DIRECTOR OF flDMInISTRflT1011
                                                               Extra details are special work assignments performed by
     SPECIflL OPERRTIOMS                                       sworn personnel, for public or private employers, under
                                                               the mantle of the Sheriff's Office that may require the
                     Dave Hills retired from the Summit
                                                               carrying of a firearm and /or may require an employee to
                     County Sheriffs Office in 2009 with
                                                               make an arrest or complete an investigation. These
                     over thirty -two years of loyal law
                                                               details are worked outside normal work hours and include
                     enforcement experience.          Dave
                                                               traffic details, security details, and community events.
                     resumed his employment with the
                     Sheriffs Office in 2013 with the                       2017 EXTRA DETAIL HOURS
                     election of Sheriff Barry. Dave is                                 DONATED         PAID     TOTAL
                     currently serving as the Assistant                                  HOURS          HOURS    HOURS
Director of Administration responsible for the coordination
                                                                FULL TIME                 63.25         51,654    51,717
and scheduling of all extra details worked by deputies
                                                                DEPUTIES
which includes all full time deputies and 103 special
                                                                SPECIAL DEPUTIES         2,129.85       7,972     10,102
deputies.
                                                                                                         w,
                                                                       TOTAL HOURS                {`

In2016, Mr. Hills received the Summit County High Point
Award in recognition of his many years of outstanding
work and dedication to the Sheriffs Office.


Deputies for whom Director Hills has the responsibility for
scheduling include:

  Unrestricted -Special Deputies that exercise arrest
powers and carry weapons in the same manner as a
regularly appointed full time deputy.

     Restricted -Special Deputies who exercise arrest
      powers and carry weapons only when assigned to
      duty by the Sheriff or his designee.




                                                              OUR COUNTY - OUR COMMITMENT
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                                                                                                              SUMMIT_000830459
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SUMMIT COUNTY SHERIFF'S OFFICE
                                 2017
OPERATIONS                     ANNUAL
                               REPORT


     OPEflflTI011S DIUISIOfI COf111AfIDEß                     BASIC PEACE OFFICER TRAIfllfl6 RCADEMY
     111U011   BflflD WH1TFIELD
                      Major Brad Whitfield is a lifelong
                      Summit County resident with
                      twenty -seven years of active law
                      enforcement experience. He has
                      worked diligently within various
                      assignments and several ranks
                      throughout his tenure at the
                      Sheriff's Office. He is a 2008
                      Graduate of the Penn State
                      Criminal Justice Institute's Police
Executive Development Program with both basic and
advanced curriculums.                                        The Summit County Sheriff's Office partnered with the
                                                             University of Akron in 2014 to operate a Basic Peace
In  2017, Major Whitfield continued in his role as the       Officer Training Academy and this partnership continued
 Operations Division Commander. While working in this        throughout 2017.
                                            Office
Bureaus.        These Bureau's include Patrol, Court         Summit County Sheriff's Office OPOTA Certified Training
Services /Civil, Detective, Internal Affairs, Drug Unit,     Academy is a unique collaboration in law enforcement
                                                             training. The instructors consist of both experienced law
Training and Communications Bureaus. Major Whitfield
                                                             enforcement officers and well- respected University of
is also responsible for overseeing the general operations
                                                             Akron faculty members. This academy provides thorough
of all Sheriff's Office specialty units such as SWAT, Bomb
                                                             and comprehensive training to develop policing skills,
Squad, Crash Team, and Major Crime Scene Units. As
                                                             enhance leadership abilities, and promote a solid ethical
the Operations Division Commander, Major Whitfield also
                                                             foundation to all cadets. The program provides over 600
oversees the general operations of the Sheriffs Office
                                                             hours of basic training and prepares each cadet to pass
Personnel Bureau and Fiscal Bureau.
                                                             the Ohio State Peace Officer's Certification Exam. Some
Major Whitfield believes that the personnel that he          examples of the training provided are firearms, subject
supervises is what keeps the Operations Division             control tactics, physical training, classroom training, and
performing with such efficiency and professionalism. "It     scenario -based training. Also, throughout the entire
takes the dedication and cooperation of a team to fulfill    training, core values of professionalism, obligation,
the responsibilities and duties of an agency as large and    leadership, integrity, courage, and excellence are
diverse as the Summit County Sheriff's Office ".             stressed and reinforced. When the cadets complete the
                                                             academy, they enter the world of policing with the
                                                             knowledge and skills necessary to effectively perform the
                                                             duties as law enforcement officials. In addition, cadets are
                                                             eligible to receive twelve credit hours to be used towards
                                                             a degree at the University of Akron.




                                                             OUR COUNTY OUR COMMITMENT
                                                                                -
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                                                                                                         SUMMIT_000830460
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  SUIVINHT COUNTY                                 SHERIFF'S OFFICE
                                                                                                    2017
OPERATIONS                                                                                        ANNUAL
                                                                                                  REPORT


                                                              OFFENDER CLASSIFICATIONS               20x6=        :1.2017

                                                                                    ADULT OFFENDERS
                                                              SEXUALLY ORIENTED OFFENDER             284
                                                              HABITUAL SEX OFFENDER                  82             77
The Sex Offender Investigation Unit is comprised of one       SEXUAL PREDATOR                        195            209
detective and one civilian employee who are tasked with       TIER 1                                 130            134
maintaining the registry and compliance of over 1200          TIER 2                                 183            216
registered sex offenders. There are approximately forty to
fifty offenders currently registered as homeless.
                                                              TIER 3
                                                              , 4Tq1Dt7LTlFFENDERS
                                                                                                     68
                                                                                                     7YIN   ;
                                                                                                                     76
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                                                                                  JUVENILE OFFENDERS
                                                              SEXUALLY ORIENTED OFFENDER             7              6

                                                              HABITUAL SEX OFFENDER                  2              2

                                                              SEXUAL PREDATOR                        3              4

                                                              TIER 1                                 9              10
                                                              TIER 2                                 10             12
                                                              TIER 3                                 9              14
                                                               OTAUUV.ENILIEIDEFF.1



                                                              Sex offenders are required to register according to the
                                                              schedule established by their designated classification as
                                                              well as any time they change their address. In 2017,
Megan's Law was enacted in 1997 and classifies sex
offenders as:                                                 deputies completed 2,499 adult offender registrations and
                                                              132 juvenile offender registrations. Sixty -four offenders
  Sex Offenders /Child Victim Offenders -required to          registered for the first time. In 2017, with a grant from the
   register annually for ten years.
                                                              Ohio Attorney General, court documents for nearly 900
  Habitual Sex Offenders -required to register annually       sex offenders were scanned into the state database.
   for twenty years.
  Sexual Predators /Child Victim Predators -required to
   register every ninety days for life.

On July 27, 2006 the Adam Walsh Act was signed into
law by President George Bush. This law changed the
classification of sex offenders into three tiers.

  Tier  1- Offenders must register every year for fifteen
    years.
  Tier  2- Offenders must register every six months for
    twenty -five years.
  Tier  3-Offenders must register every three months for
    life.




                                                             OUR COUNTY - OUR COMMITMENT



                                                                                                                SUMMIT_000830461
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 SUMMIT COUNTY SHERIFF'S OFFICE
                                  2077
OPERATIONS                      ANNUAL
                                REPORT

SER OFFEfDER UER1FICATI011
The Sheriff's Office in cooperation with the Adult Parole
Authority and County Probation Department, conduct
annual address verification sweeps to ensure compliance
of offenders. In 2017, sweeps were conducted to verify
residency of 154 offenders of which 49 were found to be
out of compliance.
               -Ar`"   S
                           TJ! fti %+--s ^...   ...          A.:f   1.




                                                                                           Ohio has adopted the Arson Registry Law in hopes of
                                                                                           helping to solve more cases, deter repeat offenses and
                                                                                           prevent deaths and property damage due to fire. The law
                                                                                           went into effect on July 1, 2013. The law requires anyone
                                                                                           convicted of an arson -related crime to register personally
                                                                                           with the Sheriff of the county in which the offender
                                                                                           resides. The offender is required to register annually for
                                                                                           at least ten years after they are released from prison. If
                       x      ?FF.ENDEf.°K                               ,         2017    the offender was not given prison time they have to
 w
       I   =    STI6AT,1                  aof
                                           f;;        1lI!                                 register after being sentenced. Failure to complete this
                                VERIFIED ADDRESS                             109   105     registration may result in a fifth -degree felony charge.
                                                                                           The Ohio Attorney General's Office maintains the central
                OTHER AGENCY NOTIFIED                                        19     9      database containing the names, addresses, photos and
                                                                                           other personal information on fire -setters. The registry,
                                                      ARRESTED               36     49     unlike the database for sex offenders, is available only to
                                                                                           law enforcement officials and not the public. There were
                                                 UNFOUNDED                   33     10     thirty -nine arsonists registered in Summit County in 2017.


                                WARRANTS ISSUED                               7     29


                                                      DECEASED               20     15



Since September 29, 2013, all county Sheriffs became
required to collect a one -time fee of $100.00 for first time
sex offender registrants. Fees collected are credited to
the Rape Crisis Program Trust. Individuals that refuse to
pay the fee are still registered as a sex offender but are                                             '        $       1.".   r.,,.r.. ..-   A.   ,


placed on a list that is submitted to the Ohio Attorney                                                                         ---




                                                                                                               !: _   t :             ;

General's Office each year indicating the refusal to pay.
The Attorney General may then file civil charges against
the individual for refusing to pay.

                                                                                          OUR COUNTY - OUR COMMITMENT                                       El
                                                                                                                                                       SUMMIT_ 000830462
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                                                                                                                       2017
FISCAL BUREAU / 7ADIVIINISTR7AT1VE SUPPORT                                                                         A NNU,A L
                                                                                                                   REPORT
This Bureau is comprised of four civilian employees;                          Furthermore, Administrative Secretary Ms. Tina Outley
Budget Director Mrs. Pam Murray, Fiscal Officers Mrs.                         assists staff with deputy uniform allowances, various
Angela Just, Mrs. Trish Durkin, and Ms. Jennifer Kline.                       employee training and travel, purchase of equipment,
Together they are responsible for the accountability of the                   competitive bidding, proposals, contracts, and payroll for
operational budget for the Sheriffs Office. This includes                     all the agency's employees. Staff is also responsible for
all the purchasing, special revenues, accounts payable,                       coordinating funding for prisoner extraditions which must
accounts receivable, as well as auditing.                                     be completed without additional funding from the County.



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                                                                 GENERAL FUNDS
                                                                               2016 BUDGET                2017 BUDGET


            SHERIFF GENERAL OFFICE                                        $9,092,900.00              $9,214,800.00
            SHERIFF JAIL OPERATING                                        $20,974,600.00             $21,547,180.00
            COURT HOUSE SECURITY                                          $629,300.00                $635,700.00
                       TOTAL GENERAL FUND                                 $30,696,800.00             $31,397,680.00
                                                                 SPECIAL REVENUES
            POLICE ROTARY                                                 $7,716,400.00              $7,657,720.00
            TRAINING ROTARY                                               $83,000.00                 $80,500.00
            INMATE WELFARE                                                $214,500.00                 $241,300.00
            CIVIL FORECLOSURE ROTARY                                      $594,500.00                $580,300.00
            FORECLOSURE EDUCATION                                         $167,800.00                 $142,100.00
            INMATE PHONE COMMISSION                                       $465,300.00                 $478,000.00
            CCW CONCEALED CARRY                                           $99,600.00                  $219,500.00
            911 WIRELESS SERVICES                                         $00.00                      $25,000.00
            SENIOR SERVICES                                               $1000.00                    $00.00
            CSEA IV -D SECURITY                                           $507,900.00                 $537,300.00
            CPT TRAINING                                                  $35,000.00                  $50,000.00
                                                                     GRANTS
            DUI ENFORCEMENT                                               $40,000.00                  $40,000.00
            OVI TASK FORCE                                                $225,000.00                 $225,000.00
            D.A.R.E.                                                      $198,500.00                 $198,500.00
            MARINE PATROL                                                 $42,668.00                  $42,668.00
            HVEO HIGH VISIBILITY                                          $33,061.65                  $36,945.48
            IDEP IMPAIRED DRIVING                                         $44,972.10                  $48,956.00
            SAFE COMMUNITIES (NEW IN 2017)                                $000.00                     $65,000.00
            DRUG UNIT                                                     $73,205.37                  $73,205.37
            JUVENILE DIVERSION SOUTH                                      $29,800.00                  $29,800.00
            JUVENILE DIVERSION NORTH                                      $32,700.00                  $32,700.00
            INSURANCE RETENTION                                           $140,000.00                 $140,000.00
            LAW ENFORCEMENT LIAISON                                       $80,080.00                  $89,333.42
            DLEF -DRUG UNIT                                               $333,333.33                 $333,333.33
                            TOTAL ALL BUDGETS                             $41,855,120.45              $42,764,841.60




                                                                           OUR COUNTY           -   OUR COMMITMENT               13

                                                                                                                          SUMMIT_ 000830463
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  SUNIIVIIT COUNTY                                SHERIFF'S OFFICE
                                                                                                     2017
LEGAL ADViSOi?                                                                                     ANNUAL
                                                                                                   REPORT


                     Mr. Mike Cody was hired in 2016 and       Mr. Cody's duties as the Attorney  for the Summit County
                     he is the resident Attorney and legal     Sheriffs Office encompasses a variety of legal disciplines.
                     advisor for the     Summit    County      His primary areas of focus are in Labor and Employment
                     Sheriffs Office.                          law, but he spends a considerable amount of time
                                                               practicing Foreclosure Law, Contract Law, Constitutional
                     Mr. Cody was born and grew up in
                                                               Law, laws associated with Jail Operations, and Criminal
                     the segregated Southern town of
                                                               procedures.
                     Tuscaloosa, Alabama. Surrounded
                     by history in the making, Mike's early    In 2017, Attorney Cody participated in negotiating the four
years were shaped and significantly influenced by the          Collective Bargaining Agreements which guide the inter-
monumental events of the national Civil Rights struggle        actions of the Agency with the employee members of our
that were occurring all around him. Tuscaloosa is just 90      four supporting Unions.      He drafted, compiled, and
miles from Montgomery and 60 miles from Birmingham,            submitted the     2017   application for a Bona Fide
arguably two of the most pivotal places in the history of      Occupational Qualification to the Ohio Civil Rights
the civil rights movement. Mr. Cody later entered the          Commission. The BFOQ supports jail operations at the
University of Alabama, and graduated with a Bachelor of        Summit County Jail, and following its submission, Mr.
Science Degree in Psychology in 1976.                          Cody testified last October before the Commission for its
                                                               approval. As the Police Legal Advisor for the Sheriff's
Attorney Mike Cody served as an Officer in the United
                                                               Patrol Bureau, he remains involved in Criminal Law.
States Army for 27 years. He served on the Department
of Army Staff at the Pentagon, and was the Deputy Chief        Attorney Mike Cody is married and has two children, both
of Staff for Logistics, G-4, for Forces Command at Fort        of whom are currently serving in the U.S. military. One in
McPherson, Georgia. Prior to his assignment there, Mike        the U.S. Army and one in the United States Marine Corps.
served as the Assistant Chief of Staff for the Support
Operations, 19th Theater Army Area Command in Daegu,
Republic of Korea. For his work with the Republic of
Korea Army, Mr. Cody was awarded the South Korean
Secretary of Defense's award for Meritorious Service in
2001. Mr. Cody retired from the Army in 2003 holding the
rank of Colonel.

Through his many years serving in the armed forces, Mike
achieved many notable accomplishments. Through his
War College experience, he became a published author
and co- authored a book entitled 'Building and Maintaining
                       -
Healthy Organizations the Key to Future Success'.

After his service in the Army, Mr. Cody moved his family
to Akron to attend law school. He is a 2006 graduate of
the University of Akron's School of Law.




                                                              OUR COUNTY - OUR COMMITMENT
                                                                                                                    14



                                                                                                           SUMMIT_000830464
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 SUMMIT COUNTY SHERIFF'S OFFICE
                                   2017
PERSONNEL BUREAU                A NNUA  L
                                REPORT
                                                                                               r
                    Donna George is the Assistant
                    Director of Administration in charge of
                                                                 NEW HIRES                                    34
                    Personnel. She is assisted in this role
                    by Administrative Assistant Jeanne           RE -HIRES                                    8
                    Bickett and Secretary Mrs. Brittany
                                                                  PROMOTIONS                                  10
                    Marshall. Prior to coming to the
                    Sheriffs Office, Donna worked nearly          DEMOTIONS                                   1

                    twenty- years in human resources at
the Summit County Child Support Enforcement Agency,              TRANSFERS                                    29
a division of the Prosecutor's Office. In this position she
                                                                  RESIGNATIONS                                17
served as the Personnel Administrative Assistant
providing technical personnel and labor services to all          TERMINATIONS                                 3

staff levels. In 2016, Ms. George received the Summit             DISABLITY SEPARATION                        2
County High Point Award for her many years of dedicated
service to the Sheriff's Office.                                  RETIREMENT                                  15

 Donna administrates hiring, conducting interviews with
job applicants and making hiring recommendations. She          Donna prepares and maintains Equal Employment
 oversees disciplinary issues and currently serves as a        Opportunity and Fair Labor Standards reports and
 member of the Sheriff's Office Discipline Committee. She      statistics   and      assists     employees    with   ADA
 coordinates promotions and promotional exams. Donna is        accommodation requests coordinating           with  Summit
 responsible to research and apply changes in                  County Human Resources. During 2017, contract
 employment regulations to make recommendations for            negotiations for all four collective bargaining agreements
 agency policies and also serves on workgroups                 (Summit County Sheriff's Supervisors' Association;
 responsible for determining county -wide policies.

 2017 FULL TIME EMPLOYEES
                                                               Deputies Union -Fraternal Order of Police /Ohio Labor
                                                               Council, Inc.; Ohio Council 8 AFSCME Local 1229
                                                               including the Communications Technical Unit and the
                                                                                                                          -
  SWORN                                                        Office and Clerical Unit) were ratified and passed by
       SHERIFF                                    1            County Council. Bothe the AFSCME contracts and
       INSPECTOR                                  2
                                                               Supervisors' Contract were completed without fact
       MAJOR                                      1
                                                               finding. A fact finding hearing was held in 2017 for the
       CAPTAIN                                    10
                                                               Deputies FOP /OLC Union. The fact finding was for
       LIEUTENANT                                 11
                                                               wages, insurance caps, and vacancies.
       SERGEANT                                   26
       DEPUTY                                     285
                                                                           "   DISCIPLINE             2016
                                         TOTAL    336
  CIVILIAN                                                       WRITTEN WARNINGS                      18          20
       ADMINISTRATIVE SUPPORT                     2              WRITTEN REPRIMANDS                    10          13
       FULL TIME CLASSIFIED PERSONNEL             18
                                                                 ADMINISTRATIVE REFERRALS              18           8
       UNION OFFICE /CLERICAL                     34
       COMMUNICATIONS TECHNICIAN                  15                           GRIEVANCES              2016        ,s V

                                         TOTAL    69             FOP   /OHIO LABOR COUNCIL             33          24
 2017 PART TIME EMPLOYEES
                                                                 SUPERVISORS UNION                      3            2
     SWORN                                        8
     CIVILIAN                                     5              AFSCME                                 7            3

                             TOTAL EMPLOYEES      418




                                                              OUR COUNTY - OUR COMMITMENT



                                                                                                            SUMMIT_000830465
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 SUMMIT COUNTY SHERIFF'S OFFICE
                                  2077
PERSONNEL BUREAU                ANNUAL
                                REPORT



       ABSENTEEISM
TOTAL SICK HOURS USED                  26,809.25     28,065.50
UNEXCUSED SICK HOURS                   4,506.25      4,158.50
FMLA HOURS                             10,343.50     13,046.50
TOTAL HOURS EMPLOYEES ABSENT           41,659.00     45,270.50




                          COMPENSATORY TIME EARNED                   L




                          CROSIER STREET JAIL & GLENWOOD JAIL    5,686.02   5,288.63
                          PATROL                                 2,133.60   2,686.00
                          CIVIL                                   666.75    524.25
                          DETECTIVE BUREAU                       262.50     718.75
                          DRUG UNIT                               94.00     245.00
                          ADMINISTRATION                         132.63     212.24
                          TRAINING                               145.50     161.00
                          JAIL ADMINISTRATION                      0.00       0.00
                          TOTAL                                  9,121.00   9,835.87




        OVERTIME HOURS PAID

                   & GLENWOOD JAILS    23,630.75    21,559.95
       PATROL                            978.55      2,260.30
       PATROL COURT HOURS                881.50       863.75
       RADIO                            1,321.00     1,164.50
       COURT SERVICES /CIVIL            2,396.00     2,173.25
       DETECTIVE BUREAU                  641.75      1,502.25
       DRUG UNIT                        1,730.50     2,641.50
       ADMINISTRATION                      .50        39.00

       TOTAL   '                       31,719.80    32,204.50




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 SUMMIT COUNTY SHERIFF'S OFFICE
                                   2017
PATROL BUREAU                   A NNUA  L
                                REPORT
                     Lieutenant Mike Sanchez serves as
                     the Patrol Bureau Commander.
                     Administrative Secretary Mrs. Jackie
                     Whitfield assists with record keeping
                     and a variety of other responsibilities.
                     Ten patrol sergeants assist in the
                     supervision of deputies and over-
                     seeing daily operations.

The Patrol Bureau is responsible for patrolling and
responding to calls for service in the City of Green,
                                                                   UEHICLE     TOME,         IT1POUf IQ,    ono SEIZURES
Coventry Township, Northfield Center Township, and
Twinsburg Township as well as the Akron Canton Airport.          The Towing, Impound and Seizure Unit maintains records
Patrol deputies responded to 54,028 calls for service in         on all vehicles towed by the Sheriffs Office. This includes,
2017 throughout Summit County. The Community                     but is not limited to vehicles towed for auto crashes, traffic
Policing Bureau is also attached to the Patrol Bureau            offenses, disabled vehicles, criminal investigations, and
which includes Juvenile Diversion, DARE, and the Marine          drug seizures. The daily operation of the unit is
Patrol Unit.                                                     coordinated by Roger Kline. Roger retired from the
                                                                 Sheriffs Office in 2009 with the rank of Major after serving
      SUMMIT COUPITY O.U.I.         TRH     FORCE                over thirty years. He returned in 2012 part-time to
                                                                 oversee the Vehicle Towing Unit.
The Summit County OVI Task Force is funded by a traffic
                                                                                                                 2016
safety grant provided by the National Transportation
Safety Administration. The task force is comprised of The        VEHICLES RELEASED BY AFFIDAVITS                  235      333
Summit County Sheriff's Office, Akron Police, Richfield          SEIZED VEHICLES                                  0        0
Police, Stow Police, Barberton Police, Boston Heights            AUCTIONED VEHICLES                               22       25
Police, Peninsula Police, New Franklin Police, Silver Lake
Police, Bath Township Police, and Tallmadge Police. The
goal of the task force is to reduce the number of alcohol -
                                                                                    D   &L       EFFREY'S       MILLER'S
related crashes within the county. In 2017, the task force       MONTH
                                                                                    TOWING       OWING      `   TOWING
conducted 26 OVI checkpoints and saturation patrols at
locations that had previously shown to have high alcohol -
                                                                 JANUARY            27          69              35         131
related arrests and /or crashes.
                                                                 FEBRUARY           9           35              32         76
                                                                 MARCH              26          51              44         121
                                                                 APRIL              15          69              31         115
                                                                 MAY                20          65              28         113
                                                                 JUNE               32          44              31         107
                                                                 JULY               28          54              30         112
                                                                 AUGUST             20          49              40         109
                                                                 SEPTEMBER          13          61              30         104
                                                                 OCTOBER            26          57              27         110
                                                                 NOVEMBER           18          45              34         97
                                                                 DECEMBER           28          57              32         117
                                                                 TOTAL              262         656             394        1,312




                                                                OUR COUNTY - OUR COMMITMENT                                    Ex

                                                                                                                      SUMMIT_000830467
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 SUIVINIIT COUNTY SHERIFF'S OFFICE
                                                                                                     2017
                                                                                                   ANNUAL
PATROL BUREAU                                                                                      REPORT



                                                                    ACCIDENT REPORTS TAKEN NO INJURIES               285

                     TOWNSHIP   .---
                        ipventryMEW I:...
                                       1806.
                                                 R,
                                                                    ACCIDENT REPORTS TAKEN    W/   INJURIES           81
                                                                    TRAFFIC STOPS MADE                               639
                     TOWNSHIP HALL                                  TRAFFIC CITES ISSUED                             520
                                                                    COURTESY CITATIONS                               206
                                                                    FIELD INVESTIGATION CARDS COMPLETED               32
MAJOR CRIME REPORTS
                                        2016                        CONTACTS                                          13
COVENTY.TOWNSHIP
ASSAULTS                                56            46            ARRESTS /SUMMONS                                 358
BURGLARY / Breaking & Entering          114           73            TOTAL CALLS FOR SERVICE                         9,244
VANDALISM / CRIMINAL
                                        103           89
DAMAGE
KIDNAPPING     /   ABDUCTION            0             3

LARCENY    / THEFT                      345           354
HOMICIDES (including involuntary
                                        2             3
manslaughter /vehicular homicide
VEHICLE THEFTS*                         23            16

RAPE                                    10            10
                                                      4
SEXUAL ASSAULTS       / GSI             15            2

                                                                           i.   .




  * In some  instances,                                             ACCIDENT REPORTS TAKEN NO INJURIES                708
prosecution was declined upon                                       ACCIDENT REPORTS TAKEN    W/   INJURIES           153
recovery of the stolen vehicle                                      TRAFFIC STOPS MADE                               2,004
or the suspect was arrested in                                      TRAFFIC CITES ISSUED                             1,178
another jurisdiction.
                                                                    COURTESY CITATIONS                                776
                                                                     FIELD INVESTIGATION CARDS COMPLETED              150
                                                                    CONTACTS                                           29
                                                                     ARRESTS/SUMMONS                                  406

                                         2016         '       ,,    TOTAL CALLS FOR SERVICE                         23,753
                                                                                                      ....s.--t.rr...a:_:   ,




ASSAULTS                                 80           67
BURGLARY      / Breaking & Entering      131              112
VANDALISM       / CRIMINAL DAMAGE        150              154
 KIDNAPPING    / ABDUCTION               0                3

 LARCENY   / THEFT                       669              661
 HOMICIDES (including involuntary
                                         1                1
 manslaughter, vehicular homicide
VEHICLE THEFTS*                          46               33

 RAPE                                       13            9

 ROBBERY                                    11            12

SEXUAL ASSAULTS       / GSI              9                7



                                                                   OUR COUNTY OUR COMMITMENT
                                                                                    -                                 131


                                                                                                            SUMMIT_000830468
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 SUMMIT COUNTY SHERIFF'S OFFICE
                                   2017
PATROL BUREAU                   A NNUA L
                                REPORT                                                                                                        ,




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            ..C
 ACCIDENT REPORTS TAKEN NO INJURIES                                                                156
 ACCIDENT REPORTS TAKEN                                    W/        INJURIES                       29
 TRAFFIC STOPS MADE                                                                                860
 TRAFFIC CITES ISSUED                                                                              273
 COURTESY CITATIONS                                                                                501
 FIELD INVESTIGATION CARDS COMPLETED                                                                50
 CONTACTS                                                                                           37
 ARRESTS/SUMMONS                                                                                    79
 TOTAL CALLS FOR SERVICE                                                                           7,337


                                                                             2016             2017
'tc    t   i   t
                   '
                            r   <   rW       ;cJ   !   t        ,'
ASSAULTS                                                                     10               5
BURGLARY including Breaking &
                                                                             12               16
Entering
VANDALISM / Criminal Damage                                                  17               18
KIDNAPPING /ABDUCTION                                                        0                0
LARCENY /THEFT                                                               122              121            2017 PATROL ACTIVITIES TWINSBURG TOWNSHIP
HOMICIDES including involuntary                                                                              ACCIDENT REPORTS TAKEN NO INJURIES                    63
                                                                             1                D
manslaughter,vehicuiar homicide                                                                              ACCIDENT REPORTS TAKEN          W/   INJURIES         16
VEHICLE THEFTS*                                                              1                1              TRAFFIC STOPS MADE                                    814
RAPE                                                                         0                1.
                                                                                                             TRAFFIC CITES ISSUED                                  353
ROBBERY                                                                      0                0
                                                                                                             COURTESY CITATIONS                                    534
SEXUAL ASSAULTS                     / GSI                                    1                0
                                                                                                             FIELD INVESTIGATION CARDS COMPLETED                   106
                                                                                                             CONTACTS                                              162
                                                                                                             ARRESTS /SUMMONS                                      97
                                                                                                             TOTAL CALLS FOR SERVICE                              6,416
                                             /--'-° 7 -1..                                                  JVIAJOR CRIME REPORTS                                         ;
                                         (TWIN       S B URG)
                                          ...'1 O 6' \ s tl
                                                                                                                                         >

                                                                                                                                                    2016      2017
                                                                     t   P                                  TWINSBURG TOWNSHIP
                                                           rt                                                ASSAULTS                               11        9
                                                                                                             BURGLARY     including breaking
                                                                                                                                                    8         27
                                                                                                             & Entering
                                                                                                             VANDALISM /Criminal Damage             27        21
                                                                                                             KIDNAPPING /ABDUCTION                  0         0
                                                                                                             LARCENY/THEFT                          63        76
                                                                                                             HOMICIDE including
                                                                                                                                                    0         0
                                                                                                             involuntary manslaughter
                                                                                                             VEHICLE THEFTS*                        5         2
                                                                                                             RAPE                                   2         3
                                                                                                             ROBBERY                                2         1
                                                                                                             SEXUAL ASSAULTS     I GS!              1         3



                                                                                                           OUR COUNTY - OUR COMMITMENT                             Ell

                                                                                                                                                           SUMMIT_000830469
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 SUMMIT COUNTY SHERIFF'S OFFICE   2017
PATROL BUREAU                   ANNUAL
                                REPORT

                                                                Airport Deputies work closely with all law enforcement
                                                                agencies, including the Stark County Sheriffs Office, Ohio
                                                                State Highway Patrol, U.S. Secret Service, I.C.E., F.B.I.,
                                                                D.E.A., A.T.F., and the Air Marshals. Deputies have also
                                                                assisted the Ohio National Guard 'and the U.S. Navy
                                                                Operations Support Center which has facilities at the
                                                                airport. A federal ASR11 radar site is also located here.

                                                                The main commercial airlines based at the airport are
                                                                Delta, United, American Airlines, and Spirit Airlines.
                                                                Collectively, these six airlines have assisted 1,266,071
                                                                passengers in their travels, but this number is down -
                                                                9.48% from 2016. Airport deputies had some type of
                                                                face -to -face contact with an estimated 2 million airport
The Summit County Sheriff's Office is responsible for the       visitors, employees, and tenants in the year 2017.
law enforcement at the Akron -Canton Airport, including
traffic control on the premises and the surrounding public      The field based operations (FBO) include McKinley Air,
roadways. Sergeant Leonard Fanelly supervises the daily         North Star, Ultimate Air, MAPS Air Museum, Goodyear,
operations of the Sheriffs Office at the airport. There are     AV Flight, J. Long Aviation, Timken, First Energy, Jet
two deputies per shift and one explosive detection K -9    -    Tech, Smuckers, and Castle Aviation. Together, these
"Anna ".                                                        businesses added an additional 70,323 passengers to the
                                                                total airport traveler's count.
Since January 2015, the additional deputy assigned to the
Gate Screening Area was reduced, and that deputy is             During 2017, deputies assigned to the airport completed
now posted during various hours only. Summit County             826 written reports with twenty-one arrests. Along with
Deputies provide security for the entire airport facility and   these duties, airport deputies performed sterile area
grounds. This facility consists of 2,700 acres of property,     search /inspections, random badge checks, and SIDA
and over ten miles of secured perimeter fencing with            vehicle searches/inspections totaling 10,645.
thirteen electronic and /or manual gates. The terminal has                     tG1f

fifty -four alarmed man -doors that allow access to the                                                       2017

facility's `AOA and SIDA'. areas. In 2017, Deputies              AMMO                                         6
responded to over 3,500 alarms.                                  AMMO AND MAGAZINE                            15
                                                                 KNIFE                                        4
The airport main terminal area is 197,000 square feet.
                                                                 KUBATON                                      4
There are 45 airport-based business buildings and 50
                                                                 FIREARM MAGAZINE                             3
individual parking lots to patrol. Inspections for baggage,
                                                                 STUN DEVICE                                  3
passengers and airport personnel are done by the TSA.




                                                                OUR COUNTY - OUR COMMITMENT
                                                                                                                     20


                                                                                                            SUMMIT_000830470
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 SUMMIT COUNTY SHERIFF'S OFFICE
                                   2017
PATROL BUREAU                   A NNU,Z1 L
                                REPORT



                                                                              The Community Policing Unit under the command of Sgt.
                                                                              Michael Walsh, consists of several specialized entities
                                                                              including Drug Awareness Resistance and Education
                                                                              .(D.A.R.E.), Marine Patrol, Juvenile Diversion, and the
                                                                              Senior Services Unit. The function of the Community
                                                                              Policing Unit is to provide programs and services to bring
                                                                              the community and law enforcement closer together and
                                                                        ',_   provide a better understanding between the two. The
            !   -:..441:9',   iH:FJwatiiwef$.«+:   ri?0iJ.ie.':
                                                                              Community Policing Unit arranges for many public
  AIRCRAFT EMERGENCY or CRASH                                     12    0
                                                                              demonstrations by Sheriff's Office special units, such as
  ASSAULT                                                         2     1
                                                                              the Bomb Squad and K -9 Unit, and works closely with the
  ASSIST ANOTHER AGENCY                                           6     0
                                                                              Mounted Patrol to provide horseback rides and Show -
  BOMB THREAT                                                     1     0
                                                                              and -Tell programs for children.
  CCW (GUN)

                                                                                     ífi }¡j
                                                                  8     5
  CIVIL MATTER                                                    2     0
                                                                                         tiifff
                                                                                          F
                                                                                                                         x.
  TRAFFIC CRASH on /off premises                                  18    1
  CRIMINAL DAMAGING on /off premise                               1     0     The purpose of the Senior Services Unit is to reduce the
  DISORDERLY CONDUCT                                              4     2     victimization of and improve the services to the senior
  DOMESTIC INCIDENT                                               2     0     citizen population.     The unit is assisted by many
  DRUG ABUSE OR POSSESSION                                        3     3     volunteers within the Sheriff's Office who provide
  FIRE   or FIRE ALARM                                            1     0     structured presentations for AARP groups, churches,
  FOUND PROPERTY REPORTED                                         10    0     social events, and fraternal organizations. The Sheriff's
  FOUND /LOST PROPERTY RETURNED                                   7     0     Office established the Senior Watch Program which
  INDUCING PANIC                                                  1     0     assigns Patrol deputies to personally visit our senior
  K -9   CHECKS ON PREMISES                                       614   0     citizens. In 2017, the Sheriff's Office had 72 senior
  LASER LIGHT ON AIRCRAFT                                         3     0     citizens that deputies checked on at least twice each
  LITTERING                                                       1     0     month. The Sheriff's Office also held a Summer Cookout
  MEDICAL                                                         46    0     as well as Christmas Parties in our North and South
  MENTAL                                                          1     0     Districts.
  PROHIBITED ITEM                                                 45    0       r.



  PROPERTY DAMAGE NON CRIMINAL                                    6     0
  RECOVERED STOLEN MOTOR VEHICLE                                  0     0
  RECOVERED STOLEN VEHICLE                                        0     0
  RESISTING ARREST                                                0     0
  SUSPICIOUS PERSON OR ACTIVITY                                   11    0
  THEFT                                                           4     0
  THEFT OF MOTOR VEHICLE                                          11    2
  TOWED VEHICLE                                                   4     0

  TRAFFICKING IN MARIJUANA                                        1     1

  UNAUTHORIZED USE OF MV                                          3     1

  UNDECLARED FIREARM                                              1     0

  WARRANT ARREST                                                  3     3


                                                                              OUR COUNTY OUR COMMITMENT
                                                                                                -                               mu

                                                                                                                         SUMMIT_000830471
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     SUNIIVIIT COUNTY                                SHERIFF'S OFFICE
                                                                                                                             2017
PATROL BUREAU                                                                                                 A NNU,rI L
                                                                                                              REPORT

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                                                                     JUUEnIL:F.IUERSIOn PHOGf1fl:Í,.          ,    .     .       .    .




                                                                    The Juvenile Diversion Program                is a partnership be-
In  2017. Summit County began experiencing tragic and
historic numbers of deaths due to opioid abuse, and                 tween the Sheriff's Office, Juvenile Court System, and
communities were frantically seeking effective strategies           local communities to help reduce juvenile crime. The
to address the opiate epidemic. Mr. Greg McNeil, a                  program serves Coventry, Northfield Center Township,
member of the Summit County Opiate Task Force was                   Twinsburg Township and the City of Green. The program
                                                                    is for first time, non -violent offenders and utilizes
first to introduce the concept of the Quick Response Team
to the Summit County Alcohol, Drug Addiction and Mental
                                                                    community service, making juveniles accountable for their
Health Services (ADM) Board. The idea quickly caught                offenses. A written contract is required between the
on with first responders and public health professionals            offender, parent/guardian, and the Sheriffs Office. The
throughout the county.                                              contract states the community service hours to be
                                                                    worked, restitution (if applicable), random curfew checks,
The Q.R.T. is best described as an outreach team                    letters of apology, or other special sanctions. The
comprised of a counselor, a paramedic, and a member of              program is an alternative to adjudication in the Juvenile
law enforcement. The team makes weekly visits to                    Court System; however, if the offender breaks any terms
individuals who have suffered an overdose, with the goal            to the contract, the matter is referred to Juvenile Court.
of convincing them to seek further treatment and establish
a path to recovery. While on scene, the team provides
resources for overdose victims and their families.
                                                                          2017 JUVENILE DIVERSIONS PER KEY DISTRICTS
The Summit County Sheriff's Office has partnered with                         COMMUNITY SERVICE HOURS SERVED
the QRT Program since its inception, and provides deputy
                                                                      COVENTRY       GREEN             TWINSBURG                          NORTHFIELD
staff for teams in our patrol districts of Coventry Township
                                                                         300           590                   40                               60
and the City of Green. Green refers to their QRT as the
GO team (Green Outreach).
                                                                                             2017 OFFENSES
     COVENTRY TOWNSHIP Q.R.T. STATISTICS              1      , ;.                   COVENTRY           GREEN            TWINS-                NORTH -
      TOTAL NUMBER OF CLIENTS VISITED           19                                                                           BURG              FIELD
                                                                       ALCOHOL           5               5                           2             0
 THOSE WHO RECEIVED TREATMENT POST VISIT        2
                                                                       OR DRUG
 PERCENTAGE OF CLIENTS HELPED BY PROGRAM 11%                           RELATED
                                                                       CRIMINAL          3               4                           0             0
                                                                      DAMAGING
      CITY OF GREEN GO TEAM STATISTICS               ,,...
                                                                        THEFT            6               13                          0             3
      TOTAL NUMBER OF CLIENTS VISITED           111                  DISORDERLY          6               2                           0             0
 THOSE WHO RECEIVED TREATMENT POST VISIT 26                            CONDUCT
                                                                       CRIMINAL          0                5                          0             0
 PERCENTAGE OF CLIENTS HELPED BY PROGRAM 25%
                                                                       TRESPASS
                                                                        UNRULY           0                3                          8             2




                                                                    OUR COUNTY - OUR COMMITMENT
                                                                                                                                                   22


                                                                                                                                          SUMMIT_000830472
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                                                                                                       2017
PATROL BUREAU                                                                                        ANNUAL
                                                                                                     REPORT


 D.R.R.E. PROGRAM                                                  ROl?.   DARE. STRTISTICS
The Summit County Sheriffs Office utilizes the D.A.R.E.
 Program as its primary drug prevention education taught
                                                                  titanti";4
                                                                                .+




                                                                  COVENTRY SCHOOLS
                                                                                     0                 gym

                                                                                                             i>,
in the schools. Deputy Leigh Burdette and Deputy Mike             K -3RD                       26       462
 Beers continue to present the program, and there are two
                                                                  5TH                          6         158
part -time deputies who are available to assist if needed.        8TH                          9         165
                                                                  11TH /12TH                   2        360
                                                                  GREEN SCHOOLS
                                                                  K -3RD                       53        1,172
                                                                  5TH                          12       330
                                                                  8TH                          12        322
                                                                  11TH /12TH                   2         675
                                                                  NORDONIA SCHOOLS
                                                                  K -3RD                       47        1,050
In the primary grades (Kindergarten-3rd Grade) the                6TH                          10        312
deputies conduct two visits that cover varidus topics such        11TH /12TH                   2         568
as the dangers of smoking, Internet safety, gun safety,           ST. FRANCIS
"Stranger Danger" and Safety City.                                K -3RD                       8         114

The elementary curriculum for the 5th Grade consists of           5TH                          2         25

a series of ten lessons. The primary focus of the 5th             8TH                          2         48

Grade program is to develop the capacities needed to              ST.   BARNABUS
enable students to take charge of their lives with particular     K -3RD                       12        171
emphasis on substance abuse. Students are taught to               5TH                          3         50
understand the many consequences of using alcohol,                8TH                          3         78
tobacco, marijuana, methamphetamine and inhalants on              ST.   MATTHEW          5TH 1           28
their developing brains and bodies, as well as the
                                                                  ST. MARY               5TH 1           19
consequences for engaging in violent behavior. Students
                                                                  ST. VINCENT            5TH 2           46
learn to develop and use communication and resistance
                                                                  ELMS                   5TH   1         21
skills to make positive quality life decisions about
                                                                  ST. SEBASTIAN          5TH 3           58
substance abuse and avoidance of violence.
                                                                  ST. PAUL               5TH 1           24
The presence of the D.A.R.E. Officer in the classroom is
                                                                  ST. JOSEPH             5TH 1           24
an integral part of the students experience and a strong
                                                                  SETON                  5TH 2           54
positive influence in their lives. In addition to the standard
                                                                  EMACULATE HEART        5TH 2           48
5th grade D.A.R.E. program, the Sheriff's Office also
presents the D.A.R.E. Middle School Program at the 8th            TOTAL                        225       6,397
Grade level. At the High School level, the deputies deliver
drug awareness on Heroin, Methamphetamines, and
Opiates.




                                                                 OUR COUNTY OUR COMMITMENT
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                                                                                                                   23


                                                                                                             SUMMIT_000830473
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    SUMMIT COUNTY SHERIFF'S OFFICE                                                                  2017
f,ATROI.,. BLI:ZEAL)                                                                              ANNUAL
                                                                                                   REPORT

                                                                The accomplishments of the Marine Patrol Unit are due to
                                                                the experience of our individual members. This includes
The Marine Patrol Unit operates under the supervision of        one member who has twenty -six years of Marine Patrol
Sgt. Mike Walsh, who supervises eight part -time deputies.      experience, and another member who has twenty years
This Unit serves as the primary law enforcement agency          of experience. Another member holds a position on the
on the waters of the Portage Lakes. The Portage Lakes           Summit County Special Operation Response Team
are a unique set of lakes that differ from the majority of      (SORT) Water Rescue Branch with SCUBA Dive, Ice
other bodies of water throughout the state. The actual          Dive, Swift Water, and Surface Ice Rescue certifications.
water is a State Park but the majority of the shore line is     Two members of the unit have won the Top Individual
private residences and businesses. There are currently          Marine Patrolman Award.
over 3,000 registered docks, 32,000 acres of water, thirty -
two miles of shoreline, three boat rental companies and
seven bars /restaurants. There are events that occur on a        SAFETY INSPECTIONS ON THE WATER              249
daily basis ranging from rowing clubs to over fifty bass         INSPECTIONS AT RAMPS, DOCKS, MARINAS         5
fishing tournaments as well as several special events            SPOT CHECKS                                  42
throughout the season. There are a variety of events
                                                                 CITATIONS /ARRESTS                            24
being held on the Portage Lakes all summer long.
                                                                 WARNINGS                                      563
SPECIAL EVENTS:                                                  SEARCH AND RESCUE TOWS                        23
* Light up the Lakes is a night time parade that has             BOATING ACCIDENTS INVESTIGATED               .1
                  major event and draws several thousand         VESSEL ASSISTS                                1,584
      people to the lakes.                                       PERSON ASSISTS                                2,617
* 4th of July Boat Parade and Fireworks.                         WAKE VIOLATION WARNINGS GIVEN                 282
*   Poker Run to benefit the Akron Children's Hospital Burn      RECKLESS OPERATION   WARNINGS                 9

      Unit.                                                      MANDATORY PFD WARNING                         2
* Portage Lakes Yacht Club National Sailing Race which
                                                                 NAVIGATION RULES WARNING                      25
      brings in boats from all over the state to participate.    SPECIAL EVENTS                                10
* Dragon Boat races to support Cancer Research.                  TOTAL HOURS SPENT ON SPECIAL EVENTS           349
* Portage Lakes Antique Boat Show.                               TOTAL BOAT PATROL HOURS                       1,110


The Marine Patrol makes an effort to distribute as much
educational literature to the public while taking the time to
explain proper boating on the Portage Lakes. In 2017,
over 2000 instructional pamphlets were distributed.
Furthermore, 1,110 patrol hours were put in by the staff.

The Marine Patrol deputies came in contact with nearly
3000 people in 2017, and issued nearly 600 different
 kinds of warnings. However, citations and arrests are just
a small part of our enforcement philosophy. The single
largest complaint in 2017 was from residents about boats
creating wakes. Unit Supervisor Sgt. Mike Walsh made a
point to personally speak with every home owner on the
lakes to address this issue. Enforcement efforts have
been focused to reduce the number of these violations.
                                                                OUR COUNTY - OUR COMMITMENT                          24


                                                                                                           SUMMIT_000830474
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  SUIVIIVIIT COUNTY SHERIFF'S OFFICE
                                                                                                  2017
SPECIALIZED UNITS                                                                               ANNUAL
                                                                                                REPORT

  H0118 'SQUAD Utl1T                                          EtIPl.0SIUE                   H-9 p1in.
The Sheriff's Bomb Squad, under the command of               The Summit County Sheriff's Explosive Detection K -9 Unit
Lieutenant Joseph Rusov, consists of six bomb tech-          is also under the supervision of Lieutenant Joseph Rusov.

nicians and two explosive detection K -9 handlers who        The K -9 Unit provides assistance to many other agencies.
cover a total of nine counties in Northeastern Ohio. The     As mentioned earlier, the arrival of K -9 Anna was an
counties include Carroll, Harrison, Holmes, Medina,          exciting addition to this unit in 2016.
Portage, Stark, Summit, Tuscarawas, and Wayne. This
group of dedicated deputies are on call 24 -hours a day,
seven days a week, to take care of any suspicious items,     PUBLIC DEMONSTRATIONS                                  8
packages, explosive devices, recovered fireworks and            /
                                                             VIP LARGE PUBLIC EVENTS                                11
military ordnances. All Bomb Technicians must attend a       SCHOOL SEARCHES                                        14
280 hour FBI Hazardous Devices School at Redstone            BUILDING SEARCHES                                      36
Arsenal in Huntsville Alabama as well as a forty hour
recertification course every three years. The Bomb Squad     SUSPICIOUS ITEM                                        5
is equipped with the latest and most up -to -date tools
                                                             SUSPICIOUS VEHICLE                                     11
needed to dispose of explosive devices. These items
                                                             AIRCRAFT SWEEPS                                        58
include a Pierce heavy -duty rescue vehicle, designed
specifically to meet the needs of the Bomb Squad; a total    BOMB THREATS                                           52
containment vessel for the transport of explosives without   PUBLIC EVENT SEARCHES                                  14
threat of harm to civilians or property; and a RemoTec       SELF INITIATED SEARCHES                                941
 Mark VI robot to remotely move explosives without the
                                                             GUN SWEEPS                                              3
 risk of harm or death to human life.
 J'
                       .....ice. _...    ,     yyr
                                               .             2017 was an exciting year for K -9 Hoppa. She completed
      '.      BOMB:SQUAD CALL OUT51     2017        .




                                                             her State Recertification on July 19th and then traveled to
BOMB THREATS                                   9
                                                             several schools in Summit County, including Green,
MILITARY ORDNANCE RECOVERY                     14
                                                             Coventry, and Barberton school districts. On numerous
BLASTING CAPS                                  2
                                                             occasions,   controlled      substances      and /or   drug
IMPROVISED EXPLOSIVE DEVICES                   6
                                                             paraphernalia were recovered during these searches.
SUSPICIOUS PACKAGE                             13
                                                             Hoppa found a total of approximately 151 pounds of
DETERIORATED DYNAMITE                          3
                                                             marijuana and 7 pounds of methamphetamine during her
RECOVERED EXPLOSIVES                           2
                                                             searches throughout the year. She spent the last two


                                                              r
RECOVERED FIREWORKS                            5
                                                             weeks of 2017 on vacation with her family in Florida.
V.I.P. BOMB SWEEPS
AMMUNITION DISPOSAL
                                               1
                                               3                    ltRUGS,RCOVOED 3t
                                                              MARIJUANA
                                                                                               1V        151 lbs.
TOTAL                                          58
                                                              METHAMPHETAMINE                            7   lbs.

                                                             During 2017, Hoppa received 182.5 hours of training, was
                                                             used on 95 occasions, and made a total of 56 finds. She
                                                             was requested to help with searches by the Akron and
                                                             Barberton Police Departments, U.S. Postal Inspectors,
                                                             the Drug Enforcement Administration, and the F.B.I.




                                                             OUR COUNTY OUR COMMITMENT
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                                                                                                         SUMMIT_ 000830475
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 SUMMIT COUNTY SHERIFF'S OFFICE   2017
SPECIALIZED UNITS               ANNUAL
                                REPORT


SUIRT    -   SPECIRL WERPOnS RnD TRCTICS                        CRISIS HEGOTIRT1011 TERM




The Summit County Sheriffs Office SWAT Team is under           The Sheriffs Crisis Negotiation Team is comprised of nine
the command of Captain Richard Armsey, and consists of         highly dedicated members under the supervision of
fifteen Operators and nine Tactical Medics. This team is       Lieutenant Michael Sanchez. The goal of the elite Crisis
made up of fourteen Summit County Sheriffs deputies            Negotiations Team is to resolve critical incidents involving
and one member from the Mogadore Police Department.            barricaded subjects, hostage takers, or persons that are
The Tactical Medics are all City of Green Fire Department      threatening suicide. These dynamic situations represent
members who are specially trained for their specific           emotionally trying and stressful moments for personnel
mission. All SWAT Team members and Tactical Medics             who respond to them. Crisis negotiators must establish
have completed the basic SWAT operator's course and            contact with subjects, identify their demands, and work to
both have specialized and on -going training in their          resolve tense and volatile standoffs without loss of life.
specific fields. SWAT Team members are required to
                                                               Two members of the Crisis Negotiation Team are required
complete eight hours of training monthly along with a forty
                                                               to accompany the SWAT team on all entries and high risk
hours of recertification training once a year.
                                                               warrants. This provides an on -site negotiator should
In 2017, the SWAT Team conducted various entry and             negotiation become necessary, adding another level of
special operations throughout Summit County, providing         safety and security for the team and the public. Sheriffs
support for the Sheriffs Detective Bureau, Narcotics           Crisis Negotiators have completed Basic and Advanced
Division, Patrol Division, as well as other agencies who       Negotiator training through the Ohio Police Officer
requested their assistance in 2017. Team members are           Training Academy or the FBI. Further, they have all been
continually striving to increase their effectiveness,          specifically trained to address individuals with altered
efficiency, and safety by keeping up to date with new          mental states, whether induced by drugs, alcohol, or
tactics, new weaponry, training, and changes in the legal       illness. Negotiation skills are maintained through an on-
environment.                                                    going continuing education process, via conferences and
                                                               training hosted by federal, state and local agencies.

 CITY OF AKRON                              0                  During 2017, Crisis Negotiators successfully convinced
 SUMMIT COUNTY SHERIFF PATROL               2                  barricaded suspects on several occasions to surrender
 SUMMIT COUNTY SHERIFF CIVIL BUREAU         0                  and end the incident without harm to anyone involved.
 SUMMIT COUNTY SHERIFF NARCOTICS            8

 SUMMIT COUNTY SHERIFF DETECTIVE BUREAU      1

 TOTAL                                       11



                                                              OUR COUNTY - OUR COMMITMENT



                                                                                                            SUMMIT_000830476
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 SUMMIT COUNTY SHERIFF'S OFFICE
                                  2017
SPECIALIZED UNITS               ANNUAL
                                REPORT

 MUM        CRIME SCEHE IfUESTIGflTIOf UNIT                          SUMMIT METRO CRASH RESPONSE TERM
                                                                                                      The Summit Metro Crash
Under the command of Lieutenant Jeff Hemsley, the
                                                                                                      Response Team is a very
Major Ci irne Scene Investigation Unit is a specialized unit
                                                                                                     unique group of highly
of deputies who volunteer to be members of the unit.
                                                                                                     trained law enforcement
Members assigned to this unit perform the required duties
                                                                     officers comprised of thirty members and three
of crime scene processing in addition to their regular
                                                                     commanders. The team is responsible for the on -scene
assignments throughout the Sheriff's Office. The function
                                                                     and follow -up investigations of fatal or serious injury
of the unit is to process crime scenes and collect physical,
                                                                     crashes that occur within eighteen jurisdictions both in
biological and trace evidence to present to the detectives,
                                                                     and outside Summit County. Sergeant Brad Tackett is the
prosecutors and courts.
                                                                     Operations Commander for the unit. Members must
Crime Scene Technicians are trained extensively in the               possess a variety of specialized skills dealing with
recovery of evidence and the various aspects of forensics.           motorcycle, pedestrian, and commercial vehicle crash
Their training and education continues throughout their              investigation, accident reconstruction, vehicle dynamics,
careers as the science of forensics and the technology               as well as advanced mapping and diagramming.
involved are constantly changing. On -going training is
                                                                     2017 was the first full year that Summit County Sheriff's
also provided in- house, as the technicians share
                                                                     personnel participated with the Metro Team. Currently
information from training they receive at schools and
                                                                     the Sheriff's Office provides nine deputies and two
demonstrate the learned techniques and processes. This
                                                                     sergeants for the team itself, as well as a lieutenant on
provides a general understanding to other technicians
                                                                     the board of directors. The Summit Metro Crash Team
who may not have received any training in that particular
                                                                     conducts monthly trainings nine months out of the year.
area of forensics. During 2017, the Crime Scene Unit
                                                                     Members also attend specialty training in the fields of
responded to 100 calls for service.
                                                                     crash dynamics, crush deformation, and occupant


HOMICIDE
                      Mq           l   :1   &c

                                                    2
                                                                     kinematics. In 2017, the team received a grant from the
                                                                     Summit County Emergency Management Administration
DOMESTIC VIOLENCE                                   2                for the purchase of a Faro 3D scanner and training.
DRUG OVERDOSE                                       3                   S   ...   .




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BURGLARY                                            38
SUSPICIOUS DEATH                                    15               VEHIICLE TYPE            SERIOUS         g';           '''''';'11','3   . CONTRIBUTING
THEFT                                               3                INVOLVED                 INJURY          ,'       c,     7              'FACTORS
STOLEN VEHICLE                                      6                                                                                            DRUGS & LOSS OF
                                                                     CARS (17)                5                    12
ASSAULT                                             6                                                                                            CONTROL

RAPE                                                6                CARS AND TRUCKS                                                             CROSSED OVER

ROBBERY                                             1
                                                                     4 CARS 3 TRUCKS                                                             CENTER LANE

SUICIDE                                             11               MOTORCYCLES (6) 3                             3                             LOSS OF CONTROL
SUICIDE ATTEMPTS                                    O

SHOOTINGS                                           2
                                                                     CAR VS.
                                                                                              3
                                                                                                                                                 2   - VISIBILITY
                                                                     PEDESTRIANS (3)                               2                             1- TEXTING
JAIL RELATED                                        1
                                                                     BUS VS.                                                                     LACK OF CLEAR
ASSIST OTHER AGENCY & SQUAD ASSISTS                 1                                         1
                                                                     PEDESTRIAN (1)                                                              VISIBILITY
VANDALISM                                           1
                                                                     CAR V5.
SPECIAL DETAIL                                      2                                                              1                             FAILURE TO YIELD
                                                                     MOTORCYCLE (1)
SPECIAL DETAILS INCLUDE SCHOOL PRESENTATIONS AND COMMUNITY EVENTS




                                                                    OUR COUNTY - OUR COMMITMENT                                                                          ra
                                                                                                                                                      SUMMIT_000830477
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 SUMMIT COUNTY SHERIFF'S OFFICE   2017
                                ANNUAL
SPECIALIZED UNITS               REPORT

                                                                                           In  2017, the Sheriff's Mounted Patrol continued to stay
 MOUnTED PATROL UnIT                                                                       busy in the community events, parades, and Blossom
                                                                                           Music Center. The Unit was also called upon to assist at
                                                                                                 N Bay Vi
                                                                                             Lic N ua
                                                                                           fPut          with their first 'Bash on the Bay' festival
                                                                                                       music star Toby Keith. Certainly the highlight
                                                                                            of 2017 for the Mounted Patrol was members and their
                                                                                            partners being chosen for the Sheriff's Unit of the Year
                                                                                            Award at the annual awards ceremony. 2017 members
                                                                                            and their mounts consist of Sgt. Roger Vaughan & TJ,
                                                                                            Deputy Michael Beers & Snoop, Deputy Elisha Menefee
                                                                                            & Rambo, Deputy Ty Kata & Artess, Deputy Lori Baker-
The Sheriffs Mounted Patrol consists of seven deputies                                      Stella & Lucky, Deputy Jim Rimedio & Chief, and Deputy
and fourteen civilian auxiliary members who are under the                                   Coleman Caster & Maggie.all participated in this training.
command of Sergeant Roger Vaughan and deputy                                               The Mounted Unit thanks the City of Green for providing
Michael Beers.       These members participate on a                                        a stable and pasture for members use at Southgate
voluntary basis and  are required to provide their own feed,                               Stables, a city -owned park.
transportation, and horses. Due to the fact that they are a
registered non -profit group, the Mounted Unit holds
fundraisers to assist with the purchase of equipment.
                                                                                                THE SHERIFF'S HOfOR GUNHD
ALLEN COUNTY
COSHOCTON COUNTY
GUERNSEY COUNTY
RICHLAND COUNTY
                                                                   frj
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NATIONAL POLICE MEMORIAL IN WASHINGTON D.C.
MILL FEST AND HALLOWEEN PARTY - ATHENS
 PALMER FEST   -   ATHENS
 BLOSSOM MUSIC CENTER
 KENMORE FESTIVAL
 AKRON FIREWORKS
Oa-     af.   ...;
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 BELMONT COUNTY JAMBOREE
 MEMORIAL DAY IN GREEN AND NORTHFIELD CENTER                                                The Summit County Sheriff's Office Honor Guard was
 CUYAHOGA FALLS POLICE MEMORIAL PARADE                                                      established in 1979 by several dedicated deputies who
 DREAM NIGHT AKRON ZOO                                                                      wanted to give something back to their fellow comrades
 NATIONAL NIGHT OUT AGAINST CRIME                                                           in a time of need. The Honor Guard consists of 10 full time
 BOSTON HEIGHTS COMMUNITY DAYS                                                              Deputy Sheriff's under the command of Lieutenant John
 SUMMIT COUNTY FAIR                                                                         Peake. The Honor Guard attended special events during
 BRIAR CREEK OPENING CEREMONY                                                               2017, performing Color -Guard presentations at such
 EAGLES CLUB FAMILY PICNIC AND SHOW & TELL
                                                                                            events as the Summit County/Stark County Sheriff's
 OHIO STATE ATI CAMPUS DEMONSTRATION                                                        BSSA meeting in October, and other community events.



                                                                                           OUR COUNTY - OUR COMMITMENT                         1:31


                                                                                                                                        SUMMIT 000830478
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 SUMMIT COUNTY SHERIFF'S OFFICE
                                  2077
COMMUNICATIONS 81Ji?E>AU        ANNUAL
                                REPORT

                    The Dispatch and Communications
                    Bureau is under the supervision of
                    Assistant Director of Administration
                    Mrs. Leigh -Ann       Slaughter, who
                    oversees fifteen full -time dispatchers
                    and six part-time dispatchers.



The Communications Bureau processes incoming 911
calls for dispatch out to the Patrol Units in the field. They
also answer eight (8) additional administrative lines to
provide service to the citizens of Summit County. In
                                                                The Dispatch Center serves as the point of contact for
addition to the communities patrolled by the Sheriffs
                                                                other communities in the activation of the Emergency
Office, the Summit County Sheriff's Office Dispatch
                                                                Alert Radio Notification used to issue Amber alerts and
Center provides dispatch services to the Springfield
                                                                warn citizens of other emergencies.
Township Police Department, and Metro Parks Serving
Summit County. Radio communication and support is               The dispatchers manage the Reverse Alert Telephone
also provided to the Humane Society, Juvenile Court             Notification System used to alert citizens to emergencies
Probation employees and Children's Services Bureau to           in specific neighborhoods.      The Dispatch Center is
provide assistance in the event of an emergency.                equipped with up -to -date, industry standard telephone
                                                                and radio communication equipment.
The Summit County Sheriffs Dispatch Center is the point
of contact for activation for the Summit County Special         In addition to radio andtelephone communications, the
Operations Response Teams.           These teams are            dispatchers process warrants, protection orders, articles,
comprised of firefighters throughout the county who             missing persons, and stolen vehicles through the Law
possess specialized training in the fields of hazardous         Enforcement Automated Data System and the National
material response, trench rescue, water rescue, rope            Crime Information Center.
rescue, confined space and structural collapse rescue.
                                                                                 17,b1SPATCH ;ACTI1lIT
                                                                 DISPATCH INCIDENTS RECORDED                78,431

                                                                 PROTECTION ORDERS ENTERED                   1,319

                                                                 WARRANT ENTRIES                             4,932

                                                                 STOLEN VEHICLE ENTRIES                       153

                                                                 MISSING PERSONS ENTRIES                      68

                                                                 STOLEN ARTICLE ENTRIES                       71

                                                                 911   CALLS                                27,687

                                                                 TOTAL CALLS PROCESSED                      156,081

The Dispatch Center is also the point of contact for the
Summit County Crime Stoppers Program. Dispatchers
gather the information from alert and conscientious
citizens and relay it to the proper jurisdictional authority
and to the Crime Stoppers Coordinator.


                                                                OUR COUNTY - OUR COMMITMENT                          El
                                                                                                           SUMMIT_000830479
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 SUMMIT COUNTY SHERIFF'S OFFICE   2017
                                ANNUAL
INVESTIGATIONS BUREAU           REPORT


  IUSPECTOR CHRISTOPHER MORDES
                                                                                   {   1.
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                                                                                                        ri r '    ,{
                                                                                                                 X1..1   7+`rt,;                  .>         2017

                                                                BACKGROUND INVESTIGATIONS
Inspector Christopher Rhoades oversees all operations of
                                                                SWORN                                                                                         37
the Investigative Bureau, which includes the Detective
                                                                CIVILIAN                                                                                      13
Bureau, Internal Affairs Unit and the Summit County Drug
Unit which is a multi -jurisdictional task force comprised of   INTERNAL INVESTIGATIONS                                                                       17

local, state, and federal law enforcement agencies. As                       +   eCC        ti.0 Gly'lIth 1ii1 >:;.t,lir,
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part of his responsibilities, Inspector Rhoades assists with     UNFOUNDED                                                                                    6
pre -employment selections. He serves not only on the                                                                                                         26
                                                                 EXONERATED
Sheriffs Office Disciplinary Review Committee and Use                                                                                                         5
                                                                 SUSTAINED
of Force Review Committee, but also the Child Fatality                                                                                                         7
                                                                 NOT SUSTAINED
Review Board and the Opiate Task Force.
                                                                 PENDING                                                                                       2

Inspector Rhoades has forty -one years of law enforce-           COMPLAINT WITHDRAWN                                                                           2
ment service, including significant experience in several               "Ctiç'\L t; i`f ,'. i fill 11..l0','' - :,
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specialized areas of investigation. Throughout this time,
he has worked in almost all bureaus of the Sheriffs Office,
including Corrections, Patrol, Organized Crime and Vice
 Unit, Detective Bureau, and the SWAT Team. During his            DETECTIUE BUREN
time as a supervisor, he directed operations in several
                                                                                     Lieutenant Scott Cottle oversees
different areas including the Patrol Bureau, Special
                                                                                     operations within the Detective
 Services Unit which included the Domestic Violence Unit,
                                                                                     Bureau. The Investigative Bureau
 School Resource Unit, D.A.R.E. program, Marine Patrol
                                                                                     consists of eleven Detectives, one
 Unit, and A.M.H.A. Unit, as well as SWAT Commander.
                                                                                     part-time Direct Indictment Officer,
                                                                                     two part- time Computer Specialists,
                                                                                     one Property/Evidence Specialist,
   If1TERfIRL RFFRIRS        unir                                                    and one Sergeant. From these, two
                                                                 detectives are specifically assigned to work on Adult
                                                                 Protective Services cases, one is assigned to Welfare
                                                                 cases, two are assigned to Summit County Board of
                                                                 Developmental Disabled cases, and one detective is
                                                                 assigned to work on Sexual Predator cases. There is an
                                                                 administrative secretary that assists with record keeping
                                                                 and other clerical duties.

                                                                 Significant changes and improvements were made to the
                                                                 Detective Bureau in 2017. Among them, the complete re-
       LT.   MIKE LOWE              SGT. CHRIS PLANCE
                                                                 modeling of the office space and removal of cubicles to
During 2017, the Internal Affairs Investigation Unit             allow for an open floor plan which improved collaboration
consisted of Lieutenant Mike Lowe and Sergeant Chris             and communication between staff members. Organizing
Plance. Their responsibilities include conducting pre-           outdated documents and purging of 800 boxes of old case
employment background investigations, investigation and          files further streamlined the Detective Bureau operations
record keeping of all citizen complaints, internal               in 2017.
investigations, and special investigations as assigned by
 Sheriff Barry.

                                                                OUR COUNTY - OUR COMMITMENT                                                                            30


                                                                                                                                                       SUMMIT_000830480
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 SUMMIT COUNTY SHERIFF'S OFFICE    2017
                                A NNUA L
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The remaining four detectives work on felony assign-
                                                                                              CASE CLEARANCES
ments such as assault, burglary, rape, murder, child
abuse. shootings, kidnappings, or whatever occurs within                                                  ARREST                                349               277

our jurisdictions. Detectives also assist other agencies                                              EXCEPTION                                 109               100

when requested. The detectives also assist Internal                                                 UNFOUNDED                                    0                  9

Affairs by conducting background investigations on                                                    WARRANT                                   60                 56
applicants. During 2017, the Detective Bureau                                                              OPEN                                 83                 90
investigated a total of 532 cases which resulted in the
arrest of 277 suspects.


                                DETECTIVE BUREAU BREAKDOWN OF INVESTIGATIONS BY KEY DISTRICT

                                                    COVENTRY TWP                  GREEN                    NORTHFIELD CTR                       TWINSBURG TWP
                                                                                                                                                20
                                            Y


                                                     2Ö1`,` .2       ...     2016             _..               .216                  .,.   ,




          ASSAULT                                        7          9         22                5                3                0                  2        0

          BURGLARY /B &E                                 15         8         26               18                4            10                     2        5

          BAD CHECKS /THEFT OF IDENTITY                  4          5         10               12                5                3                  0        8

          DEATH                                          3          4         6                 5                0                1                  0        0

          DOMESTIC VIOLENCE /DISPUTE                     11         0         11                0                2                2                  1        0

          FIRE/ARSON                                     2          0         1                 3                1                0                  0        0

          AMBULANCE /SQUAD ASSIST                        1          0         1                 3                1                0                  0        0

          HOMICIDE                                       1          1         1                 0                1                0                  0        0

          LARCENY /THEFT                                 11        30         37               41                10               4                  3        3

          MISSING PERSON                                 3          3         2                 2                1                1                  0        4

          FIREARM RELATED CHARGE                         2          0         4                 3                0                0                  1        0

          RAPE OR SEX OFFENSE                            11        16         14               19                0                1                  3        6

          ROBBERY                                        5          3         1                 6                0                0                  0        0

          STOLEN VEHICLE                                 7          4         13                9                1                0                  1        0

          SUICIDE OR ATTEMPTED SUICIDE                   4          3         3                 2                0                0                  0        0

          MISCELLANEOUS                                  1          9         1                 8                0                1                  1        0

          CHILD ABUSE /ENDANGERING                       5          4         3                12                0                1                  0        0

                                                                                               42
                                                                                                                                                              :
          NARCOTICS                                      22        30         53                                 6                7                  1        3

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            IN ADDITION TO THE ABOVE KEY DISTRICTS, THE DETECTIVE BUREAU INVESTIGATED CRIMINAL
             CASES IN 20 OTHER DISTRICTS AND JURISDICTIONS IN THE YEAR 2017. THESE LOCALITIES AND
                              THEIR NUMBER OF ASSIGNED CASES ARE AS FOLLOWS:

            Akron 66, Norton - 4, Copley - 6, Tallmadge - 6, Cuyahoga Falls -11, Macedonia - 3,
                              -
            Peninsula - 1, New Franklin   5, Bath - 1, Barberton - 9, Springfield Township - 3,
                                                     -
            Twinsburg City 4, Stow 3, Silver Lake - 2, Hudson 4, Clinton - 2, Fairlawn - 4,
                                      -         -                                                         -
            Doylestown -1, Bedford -1, Cleveland -1, Summit County Jail -19, Glenwood Jail -1,



                                                                             OUR COUNTY OUR COMMITMENT                 -                                                cm

                                                                                                                                                                  SUMMIT 000830481
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 SUMNIiT COUNTY SHERIFF'S OFFICE   2017
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Since July of 2012, the Adult Protective Services (APS)
has contracted with the Sheriffs Office for a detective.
The APS Unit consists of investigators, nurses, sanitarian
                                                                                                          2016_,.1:;.:..
representatives (zoning and hoarders), mental health                   TOTAL CASES **                     550             548

social workers, and law enforcement. The detectives work               CRIMINAL CASES OPENED              101             115

directly with the APS investigators on investigations of               CRIMINAL CASES CLOSED              100             109
crimes committed against the elderly in Summit County.                 MISDEMEANOR ARRESTS                12              18
APS addresses four major concerns with the elderly;
                                                                       FELONY ARRESTS                     13              16
neglect, self -neglect, abuse, and financial exploitation.
Complaints are received through a 24/7 hotline. The APS                OUTSTANDING WARRANTS               0               1

detective coordinates with the APS Unit on those cases                 GRAND JURY                         13              16
screened and determined to have a need to be addressed                 INDICTED                           13              16
with law enforcement. The detective sometimes works
                                                                       TOTAL ARRESTS                      25              34
with neighboring police agencies when a referral is
                                                                       *;   THIS NUMBER REFLECTS THE TOTAL NUMBER OF CASES THAT
already being addressed by that local law enforcement to               WERE INVESTIGATED BOTH ADMINSTRATIVELY AND CRIMINALLY
assist as necessary, in the investigation. When a new
case develops through the referral process, the detective                   NUMBER OF CASES REVIEWED THAT DID NOT RISE TO
is responsible to file all reports and investigate the case.                LEVEL OF A POLICE REPORT, NO FURTHER ACTION - 433


In 2017, our detectives wrote incident reports on every
case they went out on, however 99% of them were found
                                                                                                                 rrrrxzx-^T,;
                                  -
to be non -criminal due to the lack of proper laws in Ohio
regarding neglect or endangering of seniors. Often the
senior themselves refused to cooperate. So most reports
                                                                       The Direct Indictment Officer is responsible for the review
are documentation that detectives investigated the
                                                                       of all felony arrests by the Sheriff's Office and to expedite
condition of the elderly person and their living conditions,
                                                                       those cases through the Municipal Courts.
then determined no neglect or abuse took place according
to the law. Our detectives are currently working to change
the laws for the better protection of our elderly population.
                                                                        `    ^

                                                                       JANUARY
                                                                                    .;-1       :   'AI4a, 2016
                                                                                                          34
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                                                                                                                     50
                                                                                                                          .




                                                                       FEBRUARY                           34         37
                     -p:,:,   "                       2016
                                                                       MARCH                              50         44
APS TOTAL HOTLINE REFERRALS                           1,163   1,112
                                                                       APRIL                              32         44
CASES INVESTIGATED BY DETECTIVE                       524     321
                                                                       MAY                                21         29
FELONY ARRESTS                                        7       7
                                                                       JUNE                               39         30
MISDEMEANOR ARRESTS                                   2       1
                                                                       JULY                               47         39
      ....   _   .                        ..   -                       AUGUST                             42         38
                                                                       SEPTEMBER                          30         50
EUELDPIIBITDL                         DISflB1L1TIES
                                                                                                          33         28
                                                                       OCTOBER
In 2017, the Summit County Board of Developmental                      NOVEMBER                           32         51
Disabilities continued to contract with the Summit County              DECEMBER                           41         26

Sheriff's Office to investigate criminal cases that involve            TOTAL                              435        466
developmentally disabled persons residing in our county.



                                                                      OUR COUNTY OUR COMMITMENT
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                                                                                                                     SUMMIT 000830482
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 SUMMIT COUNTY SHERIFF'S OFFICE   2017
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  WELFORE FRAUD
The Welfare Unit currently has one detective assigned to
investigate persons that are receiving fraudulently
obtained benefits. The detective is paid for by the Summit
                                                                                  ITEMS RECEIVED                                                                       1,413                       1,772
County Department of Job & Family Services (SCDJFS).
                                                                             RETURNED TO OWNER                                                                          210                         187
This Detective completes all of Summit County Job &
                                                                                          DESTROYED                                                                     372                         477
Family Services field investigations along with preparing
                                                                                             DONATED                                                                    16                              19
cases for prosecution as well as assist the Attorney
                                                                                         AUCTIONED                                                                      40                                  0
General's Office and the Ohio Investigative Unit to close
down stores in Summit County who are allowing misuse
of the Ohio Direction Card. The detective and SCJFS
                                                                                                     :
investigators work jointly to conduct investigations into
                                                                                    Xs;


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fraudulent activity.
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       WELFARE INVESTIGATIONS            2017                 .'::.1r:1Ut,,lt,ut.,V1010]ufl10V10.
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            CASES RECEIVED                 6
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            CASES OPENED                   5                  :1u1g1000110001t11J0100
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            PENDING CASES                  3                  G101oC1011101U11001tU
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             GRAND JURY                    5                   .



             INDICTMENTS                   5                       :'                                                            U
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               ARRESTS                     9                                  ,
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             HOME VISITS
                                                              The Computer Crimes Unit has one part -time computer
                                                              forensic investigator whose primary responsibility is to
                                                              analyze computers for evidence of a criminal nature as
  PROPERTY RHO EUIDEnCE                                       well as process the evidence and advise the lead
Deputy John Spencer is the Property Officer for the           detective if any criminal activity is found on the computer
Summit County Sheriff's Office and is responsible for
receiving all property /evidence found, recovered, seized
and abandoned, as well as ensuring that all documents
are completed correctly for important chain -of- custody
                                                              or device.

                                                                                   2017 CASES
                                                                        CHILD PORNOGRAPHY
                                                                                                                                                 =                12
                                                                                                                                                                                    MOBILE DEVICES.
                                                                                                                                                                                                        3

purposes. The property deputy conducts annual                                THEFT OF IDENTITY                                                                     5                                    0

inventories on all money and firearms received and is                                   MURDER                                                                     1                                    0

responsible for coordinating annual auctions. The                                 GROSS SEXUAL
                                                                                                                                                                   1                                    0
Sheriff's Office has approximately 40,000 pieces of                                IMPOSITION
property and /or evidence held in five property rooms and                                       RAPE                                                               0                                    1

four vaults, dedicated to hold weapons and narcotics. All
property received since October of 2005 is managed
through an Access database and bar coding system. Old
written records dating back to 1981 (contained in four
ledger books consisting of 1,000 pages each) have been
scanned into a Computer database in order to manage
the records electronically.


                                                             OUR COUNTY - OUR COMMITMENT



                                                                                                                                                                                       SUMMIT_000830483
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  SUMMIT COUNTY SHERIFF'S OFFICE
                                    2017
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                                 REPORT

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  SUMMIT COUlTY DRUG             ET
The Summit County Drug Unit was created in January               The Summit County Drug Unit is partially funded by the
2001 under the authority of the Sheriff of Summit County.        Ohio Governor's Office of Criminal Justice Services. In
It is governed by a Board of Directors chaired by Sheriff        2017, the Summit County Drug Unit was awarded funding
Steve Barry. The Board includes the Chiefs of Police from        in the amount of $58,000.00 through the Ohio Drug Law
each participating police departments; the supervising           Enforcement Fund.
head of each participating state and federal agencies, and
the Summit County Prosecutor.                                        n
                                                                 4'fki
The Drug Unit is overseen by Inspector Rhoades. Captain
 Paolino commands the Drug Unit and is a member of the
                                                                 :t;*.:s`--   ..-.....:,,:   ,L;:::=... ;:...
                                                                 The Summit County Drug Unit and the Akron Police
Ohio Task Force Commander's Association. Sergeant
                                                                 Narcotics Unit have appropriated manpower to form a
Hunt supervises field operations of the multi jurisdictional
                                                                 countywide interdiction team utilizing three K -9 handlers,
Drug Unit. Furthermore, the Summit County Drug Unit is
                                                                 one from the Akron Police Department, one from the
manned by four full -time Summit County Deputies, one
                                                                 Summit County Sheriff's Office and one from the
full-time officer from Akron, the University of Akron,
                                                                 University of Akron police department.
Barberton, Copley, Cuyahoga Falls, New Franklin, Ohio
State Patrol, Reminderville, Springfield Township, Stow,                      K -9   DRUG INTERDICTION REMOVALS IN 2017
Tallmadge, and Barberton Police Departments, one part-
                                                                                 MARIJUANA                      68,684 GRAMS
time officer from Silver Lake Police and the Prosecutor's
office, one HIDTA Analyst, and five DEA Agents.                          METHAMPHETAMINE                         3,402 GRAMS

During 2017, members of the Summit County Drug Unit                              OXYCODONE                      471 UNIT DOSES
initiated and completed multiple undercover or controlled                            FENTANYL                     31 GRAMS
purchases of narcotics and/or dangerous ordinance. Illicit
                                                                                     COCAINE                       3   GRAMS
drugs with a potential street value of $6,691,007.47 were
removed from communities in Summit County in 2017.                                   HASHISH                     1,154 GRAMS


HlG! InTEnsITY DRUG TRREElCHIHG RHEAS
To further the effectiveness of the Unit, and provide the
best possible service to the citizens of Summit County,
                                                                 METUDITHETTIME LODORGTOOY RESPONSE
                                                                  Members of the Summit County Drug Unit, Akron Police
the Summit County Drug Unit and the Akron Police
                                                                  Narcotics Unit, Akron Police Department, University of
Narcotics Unit are co- located to form the Akron /Summit
                                                                  Akron Police Department, Barberton Police, Copley
HIDTA (High Intensity Drug Trafficking Areas) Initiative.
                                                                  Police Department, New Franklin Police Department,
The two units work closely in an effort to identify and
                                                                 Cuyahoga Falls Police Department, Springfield Township
strategically investigate large -scale violators, and sources
                                                                  Police Department, Ohio Bureau of Criminal Identification
of illicit drugs into Summit County. HIDTA assists with
                                                                  and     Investigation  and   the    Drug     Enforcement
funding of overtime, equipment, training, intelligence
                                                                 Administration, make up the Summit County Clandestine
analysis, and event de- confliction. HIDTA supplies the
                                                                  Laboratory Response Team. This team of highly trained
Summit County Drug Unit with one full time analyst.
                                                                 officers and agents is one of the largest in the State of
                                                                  Ohio. During 2017, members of the team investigated,
                                                                 identified, and dismantled several of these toxic sites.




                                                                OUR COUNTY - OUR COMMITMENT
                                                                                                                                 34


                                                                                                                        SUMMIT_000830484
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        COUNTY SHERIFF'S OFFICE
 SUIVIIVIIT
                                  2017
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INVESTIGATIONS BUREAU           REPORT


METHflMPHETflMIïIE                                             HEROI11 0110 FEfITfIfiYL
From a task force perspective, clandestine methampheta-        Across the State of Ohio, including Summit County,
mine laboratory cases are extremely expensive, man-                                heroin trafficking is increasing.
                                                                DEATHS
power intensive, and pose a serious health risk to the         =PER. '.
                                                                                   Since 2007, Mexican brown heroin
investigators and those officers responsible for the           NEAR'               has become the primary type of
dismantling of these sites. In 2017, the number of 'one -                          heroin available in Summit County.
                                                                2015        145
pot' or 'shake and bake' methods of methamphetamine                                   In   Summit County, the principal
                                                                2016        141       transporters      and      wholesale
production was significantly reduced but were still
dismantled by the Summit County Drug Unit. In some               2017         145      distributors of heroin are Mexican
cases, the homeowner was responsible for the cost of                                   Drug Trafficking      Organizations
cleanup of these clandestine labs.                             (DTO's) eclipsing more traditional Jamaican, Puerto
                                                               Rican and Dominican organizations. The Mexican
Summit County is actually experiencing a decrease in the
                                                               organizations have been able to expand their distribution
manufacturing of methamphetamines, but the Drug Unit
                                                               activities throughout Ohio and into Summit County by
has noticed a large influx of crystal meth being distributed
                                                               exploiting Ohio's extensive interstate highway system.
in our communities. The Unit seized over 100 pounds of
                                                               The State of Ohio, maintains the fourth largest interstate
crystallized methamphetamine in 2017.
                                                               system and carries the third largest volume of truck traffic
The Summit County Community Partnership Inc. is an              in the nation. The geographical location of Summit County
organization of more than 180 businesses, municipalities,      within Ohio places it at a midway point between Chicago
organizations and community activists working together          and the East Coast. It is a natural corridor connecting
to reduce the costly impacts of substance abuse in our          traffic through source cities including Detroit, New York,
community.     Board members include representatives            Youngstown and Columbus. Additionally, these routes
from businesses, law, health care (Children's Hospital of       are easily accessible to traffickers operating in Canada.
Akron, Summa Health Systems), Akron Host Lions,
                                                                Throughout 2017, the DEA Cleveland RO, the Akron
Northeastern Ohio Universities College of Medicine and
                                                                Summit County HIDTA Initiative, in conjunction with other
Pharmacy, Community Health Center and community
                                                                federal, state, and local law enforcement agencies
activists.
                                                                continued targeting drug trafficking organizations actively
In the year 2017,   the Drug Unit and the Summit County         operating in the Akron, Ohio area.
Community Partnership continued to engage in efforts to
combat the methamphetamine problem in Summit County             PHHIIMflCEUTICHLS
through presentations, including a Methamphetamine              Studies by the Department of Health and the Substance
Awareness Program, as well as a program dealing with            Abuse & Mental Health Services Administration
the overall effects of drug trafficking. The program titled     (SAMSHA) indicate that the pharmaceuticals most
"Beyond the Possession" includes area trends, violence,         associated with overdoses are opioid analgesics (narcotic
money- laundering, terrorist links, drug -endangered            pain medications), including Methadone, Fentanyl,
children, gangs, environmental issues, and negative             Oxycodone (Oxycontin, Percocet), Morphine, Codeine,
 aspects of legalization.                                       as well as sedatives including Diazepam (Valium),

The Drug Unit also works closely with county D.A.R.E.           Alprazolam (Xanax) and sleeping medications. Since
and School Resource Officers in preparing programs              2011, the Summit County Drug Unit has collected and
relating to substance abuse and methamphetamine                 disposed of 44,073 pounds of unused medications
awareness.                                                      through the DUMP (Dispose of Unwanted Medications
                                                                Properly) Program.



                                                               OUR COUNTY - OUR COMMITMENT                            35



                                                                                                            SUMMIT 000830485
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 SUMMIT COUNTY SHERIFF'S OFFICE   2017
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0PHARMACEUTICAL5                                                            2017 CRIMINAL ASSETS. SEIZED::
bESTROYED VIA DUMP                                           ITEM CATEGORY                              TOTAL VALUE
YEAR        pÚ        11ÍDS''J
                                 RESULTS FROM                VEHICLES                                   $157,761.00
2013        5,401                THE IIIST RUE               CURRENCY                                   $779,780.00
2014        7,605
                                 YEHRS OF THE                JEWELRY                                    $22,200.00
2015        8,569
                                 DUMP ?H06RH11               OTHER                                      $2,750.00
2016        8,159
2017        8,688
                                                                        -
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                                                                 ITEM CATEGORY                          TOTAL VALUE

                                                                 VEHICLES                               $115,600.00
 DRUG UNIT OPERATIOHRL HIGHLIGHTS                                CURRENCY                               $1,023,221.00

During 2017, the Summit County Drug Unit made 114                ELECTRONICS                            $4,450.00
arrests of persons for drug related offenses, and executed       OTHER                                  $37,925.00
 154 searches. Subsequently, substantial quantities of
marijuana, methamphetamine, cocaine, heroin, steroids
and other illicit substances were removed from Summit        y
                                                                 ti-   a7   Rgiii71D,          LE       RiM STf EETS                _   ......._.4.     ....   _a
County communities through the purchase, seizure, and        DRUG TYPE                                         AMOUNT                          STREET VALUE
interdiction efforts. Furthermore, 65 firearms were          ANABOLIC STEROIDS                                 3,560 DOSES                     $356,000.00
confiscated.                                                 OTHER ANABOLICS                                   610 ML                          $46,600.00
                                                             BUTANE HASH OIL                                   90 DOSES                        $4,500.00
The evidence technician of the Summit County Drug Unit
                                                             COCAINE                                           6,243.69 GRAMS $568,175.79
received 1,920 items of narcotics and narcotics -related
                                                             CRACK                                             12.5 GRAMS                      $1,137.50
evidence to process in 2017.
                                                             FENTANYL                                          86.5 GRAMS                      $15,397.00
                                                             HASH                                              209.13 GRAMS                    $29,278.20
                                                             HEROIN                                            28.3 GRAMS                      $5,037.40
                                                             MARIJUANA                                         741.9 POUNDS                    $1,732,336.50
                                                             MARIJUANA PLANTS                                  74                              $348,540.00
                                                             METHAMPHETAMINE                                   39,856 GRAMS                    $3,347,935.08
                                   2017 SEARCH       .
                                                             PSILOCYBIN MUSHROOMS                              63,16 GRAMS                     $5,052.80
                                   'WARRANTS EXECUTED    -

                                                             RX        ALPRAZOLAM                              141.5 DOSES                     $707.50
                                   .BY .DRUG UNIT            RX        AMPHETAMINE                             22 DOSES                        $330.00
                                                             RX BUPRENORPHINE                                  35 DOSES                        $350.00
                                                                 RX    CLONAZEPAM                              7 DOSES                         $70.00
                                                                 RX CODEINE                                    2,290 DOSES                     $22,900.00
                                                             RX CYCLOBENZAPRINE                                5 DOSES                         $40.00
                                    SCHOOLS,
                                                             RX        HYDROCODONE                             505 DOSES                       $7,575.00
                                    PACKAGES,
                                                             RX MORPHINE                                       8 DOSES                         $136.00
                                    AIRPORT, JAILS
                                                                 RX    OXYCODONE                               3,517 DOSES                     $35,170.00
                                    CELL   PHONES                RX PHENTERMINE                                3,648 DOSES                     $18,240.00
                                                             THC VIALS                                         200 DOSES                       $10,000.00
                                                                       /OR POWDER
                                                             THC OIL AND                136 GRAMS                                              $2,800.00
                                                             TOTAL VALUE OF DRUGS SEIZED IN 2017                                               $6,558,308.77




                                                                 OUR COUNTY OUR COMMITMENT      -                                                          ei
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